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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION



 UNITED STATES OF AMERICA,                           CR 21-23-M-DWM

              Plaintiff,

       vs.                                                  ORDER

KALYNN MARIE MOSKALOFF,

              Defendant.



      THIS matter comes before the Court on the United States’ Unopposed

Motion for Preliminary Order of Forfeiture. (Doc. 29.) Defendant Kalynn Marie

Moskaloff appeared before the Court on September 17, 2021 and entered a plea of

guilty to the indictment. She also admitted the forfeiture allegation. Moskaloffs

plea provides a factual basis and cause to issue an order of forfeiture, pursuant to

21 U.S.C. §§ 853(a)(1) and (2)and 881 and 18 U.S.C. § 924(d).

      Accordingly, IT IS ORDERED:

      THAT the United States’ motion (Doc. 29)is GRANTED;

      THAT Defendant Moskaloffs interest in the following property is forfeited

to the United States in accordance with 21 U.S.C. §§ 853(a)(1) and (2)and 881 and

18 U.S.C. § 924(d):

   ● Jennings Bryco 59 9mm semi-automatic pistol, SN 855904 with magazine

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   l Ruger EC9S 9mm pistol, SN obliterated with magazine

   l Keltec K56 12-gauge shotgun, SN XXQD20

   l $2,319.00 U.S. currency

   l Astra .25 Cal. Pistol, SN 728521 with magazine

   l Clock 20 10 mm Pistol, SN BKVU624(SN partially obliterated) with 2
     magazines

   l Smith and Wesson Model 629 Classic .44 Cal. Revolver, SN BKR7002

      THAT the United States Marshal’s Service, the Federal Bureau of

Investigations, and/or a designated sub-custodian, are directed to seize the property

subject to forfeiture and further to make a return as provided by law;

      THAT the United States will provide written notice to all third parties

asserting a legal interest in any ofthe above-described property and will post on an

official government internet site (www.forfeiture.gov) for at least 30 consecutive

days as required by Rule G(4)(a)(iv)(C) ofthe Supplemental Rules for Admiralty

or Maritime Claims and Asset Forfeiture Actions, of the Court’s Preliminary Order

and the United States’ intent to dispose of the property in such manner as the

Attorney General may direct, pursuant to 21 U.S.C. §§ 853(a)(1) and (2)and 881

and 18 U.S.C. § 924(d) and 21 U.S.C. § 853(n)(l), and to make its return to this

Court that such action has been completed;

      THAT upon adjudication of all third-party interests, if any, the Court will


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enter a Final Order of Forfeiture.

      DATED this    3d''day ofSeptember,2021.
                                           A




                                     Donald W. Molloy, District Judge
                                     Unites States E istrict Court




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